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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Constance Jackson, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:19−cv−01459
                                                           Honorable John Z. Lee
Schell & Kampeter, Inc., et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 14, 2019:


        MINUTE entry before the Honorable John Z. Lee:The parties have agreed that this
case should be stayed due to the previously filed case of Classick v. Schell & Kampeter,
Inc., No. 2:18−cv−02344−JAM−AC (E.D. Cal.), which asserts duplicative claims.
quot;[A] federal suit may be dismissed for reasons of wise judicial administration...
whenever it is duplicative of a parallel action already pending in another federal court.
Serlin v. Arthur Andersen & Co., 3 F.3d 221, 223 (7th Cir. 1993). To conserve judicial
resources, the Court exercises its discretion to stay this case pursuant to the parties'
stipulation. The parties' agreed motion to stay is therefore granted [32]. This case is closed
for administrative purposes subject to reinstatement by motion by either party under the
terms of the stipulation. Civil case terminated. Mailed notice(ca, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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